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17                       IN THE UNITED STATES DISTRICT COURT

18                             FOR THE DISTRICT OF ARIZONA
19   Christine Head, on behalf of herself and others
     similarly situated,                               NO. CV-18-08189-ROS
20
                         Plaintiff,                    JOINT STATUS REPORT
21
                  vs.                                  RE: DOC NO. 149
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23
     Citibank, N.A.,

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                         Defendant.

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1           Pursuant to the January 28, 2022 Minute Order [Doc. 149], Plaintiff Christine
2    Head and Defendant Citibank, N.A. (“Citibank”) (together, the “Parties”) submit the
3    following Joint Status Report.
4           In accordance with the Minute Order, the Parties have met and conferred regarding
5    class notice, preparation of the Notice List, the dissemination of class notice, and
6    dispositive motions. The Parties agree and jointly propose that the Court hold in abeyance
7    the scheduling of deadlines with respect to notice and dispositive motions pending the
8    Ninth Circuit’s decision concerning the Rule 23(f) Petition filed by Citibank on February
9    11, 2022 and, if the Petition is granted, pending the Ninth Circuit’s decision on the appeal
10   (the “23(f) Period”). Plaintiff filed her opposition on February 22, 2022. The Parties also
11   agree and jointly propose that the Court vacate the March 2, 2022 status hearing, the
12   reasons for which are explained below.
13          The class notice contemplated by the Court’s decision, which Citibank has
14   challenged, would entail considerable time, effort, and expense. Given the foregoing, the
15   Parties believe it is prudent to wait until the conclusion of the 23(f) Period before sending
16   class notice. See Romero v. Securus Techs., 383 F.Supp.3d 1069, 1075 (S.D. Cal. 2019)
17   (staying proceedings pending Ninth Circuit adjudication of Rule 23(f) petition, court
18   noted “the prospect of substantial, unrecoverable time and resources spent on class
19   discovery” and “[d]istrict courts have found irreparable harm probable where an appeal
20   may result in decertification of the class, thereby resulting in a substantial waste of time
21   and resources”).
22          In addition, dissemination of notice during the pendency of the 23(f) Period could
23   lead to needless expense and class member confusion if the Class Certification Order is
24   accepted for review and later reversed on appeal. See MANUAL FOR COMPLEX
25   LITIGATION (FOURTH) § 21.3, at 284 (2004) (“If the [Rule 23(f)] appeal is from a grant
26   of certification, the district court should ordinarily stay the dissemination of class notice
27   to avoid the confusion and the substantial expense of renotification that may result from
28   appellate reversal or modification after notice dissemination.”) (emphasis added).
            The Parties do not intend to remain inactive; they will, instead, begin work on the



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1    class notice process. They anticipate that they may have disagreements about the scope
2    of information to be provided by Citibank in connection with the preparation of the Notice
3    List, as contemplated by Plaintiff. The Parties agree that, during the 23(f) Period, they
4    will meet and confer regarding the production of appropriate records (if any), and if they
5    are unable to reach agreement, they will raise any such disputes with the Court.
6           For the foregoing reasons, the Parties jointly request that the Court issue an Order
7    vacating the March 2, 2022 status hearing and requiring the Parties to submit a Joint Status
8    Report within 21 days after the end of the 23(f) Period, regarding: (1) the Ninth Circuit’s
9    decision; (2) whether either party intends to file a dispositive motion, the movant’s
10   expected basis for the motion, and the opposing side’s brief explanation why the motion
11   would fail; and (3) if applicable, the parties’ proposals concerning the content of class
12   notice, the means of class notice, and the notice schedule.
13          To the extent the Court prefers to hold a status hearing, the Parties request that the
14   Court either hold the hearing virtually (via videoconferencing or by telephone) or,
15   alternatively, reschedule the March 2, 2022 status hearing.
16

17          RESPECTFULLY SUBMITTED this 23rd day of February, 2022.
18
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     By: /s/ Michael L. Greenwald               By: /s/ Matthew A. Morr
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1
                                CERTIFICATE OF SERVICE
           I certify that on February 23, 2022, the foregoing document was filed with the
2
     Court using CM/ECF, which will send notification of such to counsel of record.
3

4                                            /s/ Michael L. Greenwald
                                             Michael L. Greenwald
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